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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

  IN RE: XARELTO (RIVAROXABAN)         *           MDL 2592
  PRODUCTS LIABILITY LITIGATION        *
                                       *           SECTION L
  THIS DOCUMENT RELATES TO:            *
        ALL CASES                      *           JUDGE ELDON E. FALLON
                                       *
                                       *           MAG. JUDGE NORTH
                                       *
  ************************


                                EXHIBIT 5 TO
          PLAINTIFFS’ MOTION TO PRECLUDE SPECULATIVE TESTIMONY
           FROM SIX DEFENSE EXPERTS ABOUT POTENTIAL OUTCOMES
                       FROM OTHER ANTICOAGULANTS




   FILED UNDER SEAL




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